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                           UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                           CASE NO. 17-20144-CR- Altonaga/O’Sullivan

  UNITED STATES OF AMERICA,

                       Plaintiff,
                 vs.

  EDISON WASHINGTON PRADO ALAVA,
  a/k/a “Jhon Alex Rengifo Garcia”, et al.,

                       Defendant.

  ___________________________/

                                       NOTICE OF FILING

        The Defendant Edison Washington Prado Alava hereby files with the Court a copy of
  Defendant’s Indictment, Plea Agreement and Stipulated Proffer in Spanish.

                                               Respectfully submitted,

                                               s/ Richard J. Diaz

                                               __________________________
                                               Richard J. Diaz, Esq.
                                               3127 Ponce De Leon Blvd.
                                               Coral Gables, FL 33134
                                               Telephone: (305) 444-7181
                                               Facsimile: (305) 444-8178
                                               F.B.N. 0767697


                                     CERTIFICATE OF SERVICE


         I HEREBY CERTIFY that a true and correct copy of the foregoing was electronically

  filed via the CM/ECF and served upon all parties of record this 23rd day of July, 2018.

                                                              s/ Richard Diaz

                                                           ______________________
                                                             Richard J. Diaz, Esq.
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